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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

    FINANCIAL INFORMATION
    TECHNOLOGIES, LLC,

            Plaintiff,

    v.                                         CASE NO. 8:17-cv-00190-SDM-SPF

    ICONTROL SYSTEMS, USA, LLC,

            Defendant.
                                        /

                                      STATUS REPORT

            Plaintiff Financial Information Technologies, LLC (“Plaintiff” or “Fintech”), by

    and through undersigned counsel, hereby submits its status report on discovery in

    aid of execution as directed by the Court’s September 15, 2020 Order as follows:

            1.      On October 5, 2020, iControl served its Answer and Objections to

    Fintech’s Interrogatories in Aid of Execution.

            2.      While iControl responded to some requests without objection, iControl

    has maintained objections to several requests, including objecting to providing any

    information regarding its income, property valued over $1,000, indebtedness, third

    party transfers, assets, and transactions. Fintech is in the process of preparing a

    conciliation letter to determine if the parties can resolve the objections.

                                                      Respectfully submitted,

                                                      /s/Catherine H. Molloy
                                                      Richard C. McCrea, Jr.
                                                      Florida Bar No. 351539



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                                                   Attorneys for Plaintiff

                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on October 23, 2020, I electronically filed the

    foregoing with the Court by using the CM/ECF system, which will send a notice of

    electronic filing to:

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                                                   /s/ Catherine H. Molloy
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